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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND
Baltimore Division _
E.N. Bisso & Son, Inc.,
Civil Action No. SAG-19-3629
Plaintiff,
Vv. IN ADMIRALTY

Bouchard Transportation Co., Inc., ef al.,

Nene Ne meee Net ee” ee” Me Steer” “immer”

Defendant and Garnishees.

NOTICE OF DISMISSAL — WITHOUT PREJUDICE
Please take notice that plaintiff pursuant to Fed. R. Civ. P. 41 dismisses this case without
prejudice, each party to bear its respective costs and attorneys fees.
February 18, 2020. |

/s/ J. Stephen Simms
J. Stephen Simms (#4269) |
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Baltimore, Maryland 21030
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